                                                                                 Case 4:15-cv-02075-JSW Document 75 Filed 11/07/16 Page 1 of 4



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                                                          IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                          7                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                                                          8
                                                                          9   1049 MARKET STREET LLC,                               No. C 15-02075 JSW
                                                                         10                  Plaintiff,

                                                                         11     v.
United States District Court




                                                                                                                                    ORDER DENYING MOTION TO
                                                                              CITY AND COUNTY OF SAN FRANCISCO,
                               For the Northern District of California




                                                                         12                                                         DISMISS STATE LAW CLAIMS
                                                                         13                  Defendant.
                                                                                                                         /
                                                                         14
                                                                         15          This matter comes before the Court upon consideration of the motion for an order of
                                                                         16   dismissal of state law claims under 28 U.S.C. Section 1367 filed by 1049 Market Street, LLC
                                                                         17   (“Plaintiff”). Having carefully reviewed the parties’ papers, considered their arguments and the
                                                                         18   relevant legal authority, and having had the benefit of oral argument, the Court HEREBY DENIES
                                                                         19   the motion to dismiss the claims.
                                                                         20                                            BACKGROUND
                                                                         21          This case involves a local land use dispute between the owners of 1049 Market Street and the
                                                                         22   City and County of San Francisco (the “City”), the Board of Supervisors of the City and County of
                                                                         23   San Francisco, the Planning Department of the City and County of San Francisco, the San Francisco
                                                                         24   Department of Building Inspection, the San Francisco Building Inspection Commission, and the San
                                                                         25   Francisco Board of Appeals (collectively, “Defendants”). Plaintiff owns a six-story building on
                                                                         26   Market Street in San Francisco that was originally constructed for commercial use but has, over the
                                                                         27   years, been converted to live-work spaces, largely without permits from the City. Upon receiving
                                                                         28   complaints about the building, the City commenced complex enforcement proceedings against
                                                                                  Case 4:15-cv-02075-JSW Document 75 Filed 11/07/16 Page 2 of 4



                                                                          1   Plaintiff.
                                                                          2           Plaintiff initially filed two complaints, one before this Court and one in the Superior Court of
                                                                          3   the County of San Francisco (“State Court Action”), challenging the same conduct and seeking the
                                                                          4   same or similar relief. Each of the lawsuits challenges the City’s adoption of the Interim Controls.
                                                                          5   Later, in order to expedite its writ claims for trial, Plaintiff filed a second state lawsuit on August 3,
                                                                          6   2015 for damages. (Request for Judicial Notice, Ex. C.)1
                                                                          7           In response to Defendants’ earlier motion to dismiss, Plaintiff agreed to have this Court
                                                                          8   abstain from deciding the matter and asked that the Court stay this action pending resolution of the
                                                                          9   State Court Action. The Court issued an order on September 28, 2015 and, pursuant to the equitable
                                                                         10   doctrine created by Railroad Comm’n v. Pullman Co., 312 U.S. 496 (1941) (“Pullman”), granted the
                                                                         11   parties’ request to refrain from deciding any sensitive federal constitutional issues when state law
United States District Court
                               For the Northern District of California




                                                                         12   issues might moot or narrow those constitutional questions. See 1049 Market Street LLC v. City and
                                                                         13   County of San Francisco, 2015 WL 5676019, at *2 (N.D. Cal. Sept. 28, 2015).
                                                                         14           Now, Plaintiff seeks to dismiss its state law causes of action pursuant to 28 U.S.C. Section
                                                                         15   1367. Since the Court’s earlier order under Pullman, the City has enacted permanent versions of the
                                                                         16   interim 2015 Controls, now the Permanent Controls, and Plaintiff has filed a fourth lawsuit in San
                                                                         17   Francisco Superior Court. Further, Plaintiff has represented that it will seek leave to file an
                                                                         18   amended complaint in the state court damages action to reflect this new development. Because the
                                                                         19   Permanent Controls have now replaced the 2015 Interim Controls, and the relief Plaintiff seeks is
                                                                         20   substantially similar, Plaintiff seeks an order to dismiss the redundant state law claims in this matter
                                                                         21   pursuant to 28 U.S.C. Section 1367, then to allow it to voluntarily dismiss the remaining federal
                                                                         22   claims, and subsequently to pursue all claims in state court, while preserving the statute of
                                                                         23   limitations for all claims pursuant to 28 U.S.C. Section 1367(d).
                                                                         24           The Court will address additional specific facts in the remainder of this order.
                                                                         25                                                  ANALYSIS
                                                                         26            First, the parties disagree over whether the Court has already dismissed the state law causes
                                                                         27   of action. By issuing its order to abstain, partially granting Defendants’ motion to dismiss and
                                                                         28
                                                                                      1
                                                                                           The Court GRANTS the request for judicial notice. See Fed. R. Evid. 201(b).

                                                                                                                                   2
                                                                                  Case 4:15-cv-02075-JSW Document 75 Filed 11/07/16 Page 3 of 4



                                                                          1   staying this matter, the Court necessarily dismissed the state law causes of action. A district court
                                                                          2   abstaining under Pullman must dismiss the state law claim and stay its proceedings on the
                                                                          3   constitutional question until a state court has resolved the state issue. See Cedar Shake & Shingle
                                                                          4   Bureau v. City of Los Angeles, 997 F.2d 620, 622 (9th Cir. 1993). The Court explicitly granted in
                                                                          5   part the motion to dismiss and stated that it awaited “a definitive ruling in the state courts on the
                                                                          6   state law questions before returning to the federal forum.” See 1049 Market Street, 2015 WL
                                                                          7   5676019, at *2 (citing San Remo Hotel v.City and County of San Francisco, 145 F.3d 1095, 1104
                                                                          8   (9th Cir. 1998)). For this reason, Plaintiff’s motion to dismiss the state law causes of action and to
                                                                          9   seek an order suspending the statute of limitations is DENIED.2
                                                                         10           Second, it is not clear that the writ causes of action actually stated claims under state law.
                                                                         11   Regardless, the parties agreed at oral argument on this motion that the same conduct and nucleus of
United States District Court
                               For the Northern District of California




                                                                         12   operative fact is pending before the state courts in the lawsuits pending there. To the extent Plaintiff
                                                                         13   seeks to amend those state actions to reflect the current status regarding the adoption of the
                                                                         14   Permanent Controls, it may seek such amendment in state court.
                                                                         15           Lastly, even if the Court’s previous order had not somehow already dismissed the redundant
                                                                         16   state law causes of action, this Court has not yet dismissed the federal claims that remain before it.
                                                                         17   With the federal claims still remaining before this Court, even if the Court had somehow retained the
                                                                         18   pendent state law claims after abstention, Section 1367(d) does not apply to toll the statute of
                                                                         19   limitations. The only authority cited by either party provides that Section 1367(d) applies only
                                                                         20   where, pursuant to Section 1367(c), “a federal court declines to exercise supplemental jurisdiction
                                                                         21   over state law claims after dismissing the federal claims.” Centaur Classic Convertible Arbitrage
                                                                         22   Fund Ltd. v. Countrywide Financial Corp., 878 F. Supp. 2d 1009, 1019 (C.D. Cal. 2011) (emphasis
                                                                         23   added) (citing cases). The only precedent before this Court is the federal courts’ decision whether to
                                                                         24   continue to exercise supplemental jurisdiction over state law claims after the federal claims have
                                                                         25
                                                                         26           2
                                                                                          Plaintiff’s counsel conceded at oral argument that it was not Plaintiff’s intention to dismiss
                                                                              the state law causes of action when seeking abstention, although by operation of law, the exercise of the
                                                                         27   Pullman doctrine so necessitates. Plaintiff’s counsel also acknowledged that the original complaint in
                                                                              this matter was not the model of clarity, and was not certain that the writ causes of action actually stated
                                                                         28   claims under state law, as opposed to state procedural mechanisms, effectively comprising federal
                                                                              claims.

                                                                                                                                   3
                                                                                  Case 4:15-cv-02075-JSW Document 75 Filed 11/07/16 Page 4 of 4



                                                                          1   already been dismissed. See, e.g., Jinks v. Richland County, 538 U.S. 456, 459 (2003). Having no
                                                                          2   specific authority to exercise its discretion to dismiss state law claims and suspend the statute of
                                                                          3   limitations on those claims while federal law claims remain, the Court declines to so hold.
                                                                          4          In order to preserve Plaintiff’s rights to maintain the remaining federal causes of action
                                                                          5   before this Court, the Court DENIES the motion to dismiss and STAYS this matter pending
                                                                          6   resolution of the underlying State Court Action. The Court shall again administratively close this
                                                                          7   case. The parties shall jointly report the status of the State Court Action every 120 days and no later
                                                                          8   than 10 days after the issuance of a final order in that action.
                                                                          9          IT IS SO ORDERED.
                                                                         10   Dated: November 7, 2016
                                                                                                                                         JEFFREY S. WHITE
                                                                         11                                                              UNITED STATES DISTRICT JUDGE
United States District Court
                               For the Northern District of California




                                                                         12
                                                                         13
                                                                         14
                                                                         15
                                                                         16
                                                                         17
                                                                         18
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28


                                                                                                                                  4
